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                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                STATESVILLE DIVISION                                 総棚 蹄臨 c
UNITED STATES OF AMERICA,
                                                               DOCKET NO.5:15CR69
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               V.                                            CONSENT ORDER AND
                                                          JUDGⅣ IENT OF FORFEITURE
1)KIMBERLY MICHAELS DIPADOVA,
                       Defendant.

         WHEREAS, the defendant, KIMBERLY MICHAELS DIPADOVA, has entered into a
plea agreement (incorporated by reference herein) with the United States and has voluntarily
pleaded guilty pursuant to Fed. R. Crim. P. l1 to one or more criminal offenses under which
forfeiture may be ordered;

        WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant's
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property for which under 2l U.S.C. A 853(p) and Fed. R. Crim. P.32.2(e); and is therefore
subject to forfeiture pursuant to 2l U.S.C. $ 853, provided, however, that such forfeiture is
subject to any and all third party claims and interests, pending final adjudication herein;

        WHEREAS, the defendant herein waives the requirements of Fed. R. Crim. P. 32.2
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

        WHEREAS, pursuant to Federal Rules of Criminal Procedr.rre 32.2(b)(1) & (c)(2), the
Court finds that there is the requisite nexus between the property and the offense(s) to which the
defendant has pleaded guilty and that the defendant has a legal or possessory interest in the
property;

         WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative fbrf'eiture or civil forfeiture proceeding concerning any of the property described
below. lf the defendant has not previously submitted such a claim, the defendant hereby waives
all right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of
the property described below has previously been stayed, the defendant hereby consents to a
lifting of the stay and consents to forfeiture;




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       WHEREAS, the undersigned United States Magistrate Judge is authorized to enter this
Order by the previous Order olthis Court No. 3:05MC302-C (September 8, 2005);

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

        The following properfy is forfeited to the United States:

             .     $10,807,00 in United States Currency

        The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody ofthe above-described tangible property.

       If and to the extent required by Fed. R. Crim. P. 32.2(bX6), 2l U.S.C. g 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of
this forfeiture.

        Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier,
petition the court for a hearing to adjudicate the validity ofthe alleged interest.

       Pursuant to Fed. R. Crirn. P. 32.2(b)(3), upon entry of this Order of Forfeiture. the United
States Attorney's Office is authorized to conduct any discovery needed to identify. locate or
dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas. pursuant to Fed. R. Civ. P. 45.

        Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shall be entered, as provided by Fed. R. Crim. P. 32.2(c)(2). If no third party files a timely
petition, this order shall become the final order and judgment of forfeiture, as provided by Fed.
R. Crim. P. 32.2(c)(2), and the United States shall have clear title to the property and shall
dispose of the property according to law. Pursuant to Fed. R. Crim. P. 32.2(b)(a)(A), the
defendant consents that this order shall be final as to defendant upon filing.
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SO AGREED:




STEVEN R.KAUFMAN
Assistant United States Attorney


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    BERLY MICHAEビ S DIPADOVA




Attorney for Defendarrt




       Signcd this thc 26th day of May,2016




                                    United States Magistrate Judge
                                    Western District of North Carolina




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